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                                            EXHIBIT Q


                    (SCHEDULE OF RETAINED CAUSES OF ACTION)


Any and all claims, interests, controversies, actions, proceedings, reimbursement claims,
contribution claims, recoupment rights, debts, third-party claims, indemnity claims, damages,
remedies, causes of action, demands, rights, suits, obligations, liabilities, accounts, judgments,
defenses, offsets, powers, privileges, licenses, franchises, Liens, guaranties, Avoidance Actions,
agreements, counterclaims, and cross-claims, of any kind or character whatsoever, whether
known or unknown, foreseen or unforeseen, existing or hereinafter arising, contingent or non-
contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed
or undisputed, asserted or unasserted, direct or indirect, assertable directly or derivatively, choate
or inchoate, reduced to judgment or otherwise, secured or unsecured, whether arising before, on,
or after the Petition Date, in tort, Law, equity, or otherwise pursuant to any theory of civil Law
(whether local, state, or federal U.S. Law or non-U.S. Law), including, without limitation: (a) all
rights of setoff, counterclaim, or recoupment and claims under contracts or for breaches of duties
imposed by Law or in equity; (b) any claim (whether under local, state, federal U.S. Law or non-
U.S. civil Law) based on or relating to, or in any manner arising from, in whole or in part, tort,
breach of contract, breach of fiduciary duty, fraudulent transfer or fraudulent conveyance or
voidable transaction Law, violation of local, state, or federal non-U.S. Law or breach of any duty
imposed by Law or in equity, including securities Laws and negligence; (c) the right to object to
or otherwise contest Claims or Interests and any Claim Objections; (d) claims pursuant to section
362 or chapter 5 of the Bankruptcy Code; (e) claims against John Ziegelman, including, without
limitation, for fraud, misrepresentations, and failure to perform services in connection with a
consulting agreement, and any other Causes of Action alleged by or on behalf of the Debtors in
connection with that certain proceeding entitled Ziegelman et al. v. Amyris, Inc., pending in the
Circuit Court of Cook County, Illinois, County Department, Chancery Division (Case No. 2020-
CH-05154); (f) claims against Mark Gerhard, Riaan Hodgson, former employees of Beauty Labs
and Entities associated with any of the foregoing, including, without limitation, Causes of Action
for breach of contract, breach of fiduciary duties, misappropriation of corporate assets and fraud;
(g) claims against Renfield Manufacturing LLC, its principal and related parties, including
Marissa Shipman, including, without limitation, Causes of Action for breach of contract, fraud,
unjust enrichment, breach of covenant of good faith and fair dealing, in connection with
transactions entered into between the parties; (h) claims against Allure Labs, Inc., and AE
Chemie, including, without limitation, Causes of Action for breach of contract related to an
ingredient placed in Amyris products; (i) any Causes of Action against Novvi, LLC, its
principals and related parties, including, without limitation, any claims or administrative
expenses that may be asserted in connection with that certain bankruptcy case entitled In re
Novvi, LLC, bearing Case No. 23-90906, pending in the United States Bankruptcy Court for the
Southern District of Texas; (j) all claims and Causes of Action against Disruptional Ltd. and
&Vest Beauty Labs LP, including, without limitation, all Claims and Causes of Action
concerning or in any way related to that certain Share Purchase Agreement, dated as of August
31, 2021; (k) all claims and Causes of Action against MG Ribeirao Preto Limited, MG Empower
Ltd. (and its current and former employees), Maira Genovese, Bruno Genovese, David Allen,
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Ana-Karina Allen, Paula Albuquerque, and Aldo d’Aponte, including, but not limited to, any
claims or Causes of Action arising from or in any way related to that certain Share Purchase
Agreement dated August 4, 2023 and all related documents and agreements, including but not
limited to that certain guaranty of Amyris of that certain lease entitled Counterpart Lease
Related to Uniform Works 10-11 Clerkenwell Green, London, EC1R ODP, dated February 15,
2022; (l) all claims and Causes of Action against AO Representative Expense Fund, LLC, and its
members, and all former stockholders and noteholders of Olika, Inc., including, without
limitation, any claims or Causes of Action arising from or in any way related to that certain
Agreement and Plan of Merger and Reorganization by and among Amyris, Inc., Amyris-Olika
Merger Sub I, Inc., Amyris-Olika Merger Sub II, LLC, Olika Inc., and AO Representative
Expense Fund, LLC, dated as of August 11, 2021; and (m) such claims and defenses as fraud,
mistake, duress, and usury, and any other defenses set forth in section 558 of the Bankruptcy
Code, that shall vest in the Reorganized Debtors on the Effective Date, including all section 547
preference actions, all Claims against an Excluded Party, and shall not include any of the Causes
of Action that are settled, released, or exculpated under the Plan.

Unless otherwise released by the Plan or expressly excluded herein, the Debtors expressly
reserve all Causes of Action against or related to all Entities that are party to or that may in the
future become party to litigation, arbitration, or any other type of adversarial proceeding or
dispute resolution proceeding, whether formal or informal or judicial or non-judicial, regardless
of whether such Entity or Causes of Action against such Entity are included herein.
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Any and all claims, interests, controversies, actions, proceedings, reimbursement claims,
contribution claims, recoupment rights, debts, third-party claims, indemnity claims, damages,
remedies, causes of action, demands, rights, suits, obligations, liabilities, accounts, judgments,
defenses, offsets, powers, privileges, licenses, franchises, Liens, guaranties, Avoidance Actions,
agreements, counterclaims, and cross-claims, of any kind or character whatsoever, whether
known or unknown, foreseen or unforeseen, existing or hereinafter arising, contingent or
non-contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated,
disputed or undisputed, asserted or unasserted, direct or indirect, assertable directly or
derivatively, choate or inchoate, reduced to judgment or otherwise, secured or unsecured,
whether arising before, on, or after the Petition Date, in tort, Law, equity, or otherwise pursuant
to any theory of civil Law (whether local, state, or federal U.S. Law or non-U.S. Law), including,
without limitation: (a) all rights of setoff, counterclaim, or recoupment and claims under
contracts or for breaches of duties imposed by Law or in equity; (b) any claim (whether under
local, state, federal U.S. Law or non-U.S. civil Law) based on or relating to, or in any manner
arising from, in whole or in part, tort, breach of contract, breach of fiduciary duty, fraudulent
transfer or fraudulent conveyance or voidable transaction Law, violation of local, state, or federal
non-U.S. Law or breach of any duty imposed by Law or in equity, including securities Laws and
negligence; (c) the right to object to or otherwise contest Claims or Interests and any Claim
Objections; (d) claims pursuant to section 362 or chapter 5 of the Bankruptcy Code; (e) claims
against John Ziegelman, including, without limitation, for fraud, misrepresentations, and failure
to perform services in connection with a consulting agreement, and any other Causes of Action
alleged by or on behalf of the Debtors in connection with that certain proceeding entitled
Ziegelman et al. v. Amyris, Inc., pending in the Circuit Court of Cook County, Illinois, County
Department, Chancery Division (Case No. 2020-CH-05154); (f) claims against Mark Gerhard,
Riaan Hodgson, former employees of Beauty Labs and Entities associated with any of the
foregoing, including, without limitation, Causes of Action for breach of contract, breach of
fiduciary duties, misappropriation of corporate assets and fraud; (g) claims against Renfield
Manufacturing LLC, its principal and related parties, including Marissa Shipman, including,
without limitation, Causes of Action for breach of contract, fraud, unjust enrichment, breach of
covenant of good faith and fair dealing, in connection with transactions entered into between the
parties; (h) claims against Allure Labs, Inc., and AE Chemie, including, without limitation,
Causes of Action for breach of contract related to an ingredient placed in Amyris products; (i)
any Causes of Action against Novvi, LLC, its principals and related parties, including, without
limitation, any claims or administrative expenses that may be asserted in connection with that
certain bankruptcy case entitled In re Novvi, LLC, bearing Case No. 23-90906, pending in the
United States Bankruptcy Court for the Southern District of Texas; (j) all claims and Causes of
Action against Disruptional Ltd. and &Vest Beauty Labs LP, including, without limitation, all
Claims and Causes of Action concerning or in any way related to that certain Share Purchase
Agreement, dated as of August 31, 2021; (k) all claims and Causes of Action against MG
Ribeirao Preto Limited, MG Empower Ltd. (and its current and former employees), Maira
Genovese, Bruno Genovese, David Allen, Ana-Karina Allen, Paula Albuquerque, and Aldo
d’Aponte, including, but not limited to, any claims or Causes of Action arising from or in any
way related to that certain Share Purchase Agreement dated August 4, 2023 and all related
documents and agreements, including but not limited to that certain guaranty of Amyris of that
certain lease entitled Counterpart Lease Related to Uniform Works 10-11 Clerkenwell Green,
London, EC1R ODP, dated February 15, 2022; (l) all claims and Causes of Action against AO



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Representative Expense Fund, LLC, and its members and related parties, and all former
stockholders and noteholders of Olika, Inc., including, without limitation, any claims or Causes
of Action arising from or in any way related to OLIKAthat certain Agreement and Plan of
Merger and Reorganization by and among Amyris, Inc., Amyris-Olika Merger Sub I, Inc.,
Amyris-Olika Merger Sub II, LLC, Olika Inc., and AO Representative Expense Fund, LLC,
dated as of August 11, 2021; and (m) such claims and defenses as fraud, mistake, duress, and
usury, and any other defenses set forth in section 558 of the Bankruptcy Code, that shall vest in
the Reorganized Debtors on the Effective Date, including all section 547 preference actions, all
Claims against an Excluded Party, and shall not include any of the Causes of Action that are
settled, released, or exculpated under the Plan.

Unless otherwise released by the Plan or expressly excluded herein, the Debtors expressly
reserve all Causes of Action against or related to all Entities that are party to or that may in the
future become party to litigation, arbitration, or any other type of adversarial proceeding or
dispute resolution proceeding, whether formal or informal or judicial or non-judicial, regardless
of whether such Entity or Causes of Action against such Entity are included herein.




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Document comparison by Workshare Compare on Tuesday, January 23, 2024
2:39:07 PM
Input:
Document 1 ID       netdocuments://4866-8361-0015/2
Description         Amyris - FAPS - REVISED Ex. Q
Document 2 ID       netdocuments://4871-7252-3935/1
Description         Amyris - Second Am Plan Supp - REVISED - Ex. Q
Rendering set       Standard

Legend:
Insertion
Deletion
Moved from
Moved to
Style change
Format change
Moved deletion
Inserted cell
Deleted cell
Moved cell
Split/Merged cell
Padding cell

Statistics:
                                       Count
Insertions                                5
Deletions                                 3
Moved from                                0
Moved to                                  0
Style changes                             0
Format changes                            0
Total changes                             8
